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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

JARROD JOHNSON, individually, and
on behalf of a class of persons similarly
situated,

        Plaintiff,
                                                            Case No. 4:20-cv-00008-AT
v.
                                                            Hon. Amy Totenberg
3M COMPANY, et al.,

        Defendants.


        DEFENDANT E.I. DU PONT DE NEMOURS AND COMPANY’S
        ANSWER TO PLAINTIFF’S THIRD AMENDED COMPLAINT


        Defendant E.I. du Pont de Nemours and Company (“DuPont”) hereby answers

the Third Amended Complaint by Plaintiff Jarrod Johnson, individually and as

representative of a putative class (“Plaintiff”), as follows:

                                 STATEMENT OF THE CASE1

        1.       This paragraph is a description of plaintiff’s claims and theories of

liability and therefore requires no response. To the extent there are allegations in this




1
 DuPont’s Answer follows the subject subheadings of Plaintiff’s Third Amended Complaint which are included for
ease of reference. DuPont denies any legal conclusions or characteristics of fact contained with the subheadings.

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paragraph asserted against DuPont, it is without sufficient information to admit or

deny the allegations of this paragraph and therefore denies them.

      2.     This paragraph is a description of plaintiff’s claims and theories of

liability and therefore requires no response. To the extent there are allegations in this

paragraph asserted against DuPont, they are denied. Specifically, DuPont denies that

it “created and maintained a continuing public nuisance” or harmed or injured

Plaintiff. DuPont is without sufficient information to admit or deny the allegations

of this paragraph and therefore denies them.

      3.     DuPont is without sufficient information to admit or deny the

allegations of this paragraph and therefore denies them.

      4.     Denied as to DuPont. DuPont specifically denies that it discharged

PFAS, operated a carpet manufacturing facility upstream of the City of Rome,

Georgia, or discharged wastewater. DuPont is without sufficient information to

admit or deny those allegations as to the other defendants and therefore denies them.

      5.     Denied as to DuPont. DuPont specifically denies that it discharged

PFAS into the Upper Coosa River basin, the Conasauga River, the Oostanaula

Rivers, and any other water supply of the City of Rome. DuPont is without sufficient

information to admit or deny those allegations as to the other defendants and

therefore denies them.


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      6.     This paragraph contains a description of Plaintiff’s claims and theories

of liability and therefore requires no response. To the extent a response is necessary,

denied as to DuPont. DuPont specifically denies that it “discharge[d] toxic

chemicals,” committed any misconduct, or harmed or injured Plaintiff. DuPont is

without sufficient information to admit or deny the allegations of this paragraph as

to the other defendants and therefore denies them.

                         JURISDICTION AND VENUE

      7.     This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied.

      8.     This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied.

      9.     This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied.

      10.    This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied.

      11.    This paragraph is not direct at DuPont and therefore requires no

response. To the extent a response is necessary, denied.

      12.    This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied.


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        13.   This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied.

        14.   This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied.

                                     PARTIES

        15.   DuPont is without sufficient information to admit or deny the

allegations of this paragraph pertaining to Plaintiff’s residency and therefore denies

them. DuPont is without sufficient information to admit or deny the allegations of

this paragraph pertaining to Plaintiff’s status as a customer of the City of Rome water

treatment facility and therefore denies them. The remaining allegations of this

paragraph are denied as to DuPont. DuPont specifically denies that it manufactured

PFAS, conducted any “waste disposal operations,” or contaminated any “water

supply.”

        16.   Paragraph 16 is not directed to DuPont, and therefore no response is

required. To the extent a response is necessary, DuPont is without sufficient

information to admit or deny the allegations of this paragraph and therefore denies

them.

        17.   This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied.


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      18.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      19.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      20.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      21.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      22.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,




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DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      23.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      24.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      25.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      26.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.




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      27.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      28.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      29.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      30.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      31.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,




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DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      32.      Admitted that DuPont is a corporation with its principal place of

business in Wilmington, Delaware and that it is registered to do business in the State

of Georgia. The remaining allegations of this paragraph pertaining to DuPont are

denied. This paragraph also contains allegations directed at a defendant other than

DuPont which requires no response. To the extent a response is necessary, DuPont

is without sufficient information to admit or deny those allegations and therefore

denies them.

      33.      The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      34.      The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      35.      The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,


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DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      36.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      37.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      38.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      39.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.




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      40.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      41.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      42.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      43.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      44.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,




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DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      45.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      46.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      47.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

      48.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.




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      49.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

admitted that The Chemours Company (“Chemours”) is a corporation with its

principal place of business in Wilmington, Delaware, and that it is registered to do

business in the State of Georgia. DuPont is without sufficient information to admit

or deny the remaining allegations of this paragraph and therefore denies them.

      50.   The allegations of this paragraph are directed at a defendant other than

DuPont and therefore require no response. To the extent a response is necessary,

DuPont is without sufficient information to admit or deny the allegations of this

paragraph and therefore denies them.

                             FACTUAL ALLEGATIONS

      51.   Admitted only that there are a number of carpet manufacturers in and

around the City of Dalton, Georgia. DuPont is without sufficient information to

admit or deny the remaining allegations of this paragraph and therefore denies them.

      52.   Admitted only that certain PFAS are chemically stable and can persist

in the environment under certain circumstances. The remaining allegations of this

paragraph are denied as stated as to DuPont. DuPont is without sufficient

information to admit or deny the allegations of this paragraph as to the other

defendants and therefore denies them.


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      53.    Admitted only that certain PFAS may be absorbed by certain biota. The

remaining allegations of this paragraph are denied as to DuPont.

      54.    Admitted only that PFOS and PFOA have largely been phased out by

industry. DuPont never manufactured or sold PFOS and never sold PFOA as a

commercial product. DuPont is without sufficient information to admit or deny the

remaining allegations of this paragraph and therefore denies them.

      55.    Admitted only that certain PFAS may be ingested by humans. DuPont

is without sufficient information to admit or deny the remaining allegations of this

paragraph and therefore denies them.

      56.    Admitted only that the C8 Science Panel conducted certain studies as

specified and limited by the terms of the Leach class action settlement agreement,

including PFOA, and issued “C8 Probable Link Reports.” Denied to the extent that

the allegations of this paragraph do not accurately state those Reports in full context

and further denied to the extent the allegations of this paragraph are inconsistent with

those Reports. Any remaining allegations in this paragraph are denied as stated as to

DuPont.

      57.    Admitted only that in 2006, a science advisory board recommended that

the EPA classify PFOA as a carcinogen, although the EPA has not classified PFOA

as to its carcinogenicity. Denied to the extent that the allegations of this paragraph


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do not accurately describe that 2006 recommendation in full context and further

denied to the extent the allegations of this paragraph are inconsistent with that

recommendation. Any remaining allegations in this paragraph are denied as stated.

      58.    Admitted as to the classification of PFOA by IARC, and that EPA’s

Guideline for Carcinogenic Risk Assessment (US EPA 2005) stated there is

suggestive evidence of carcinogenic potential for PFOA. Denied to the extent the

allegations of this paragraph are inconsistent with those agency publications or do

not accurately describe the full context of the statements pulled from those

publications.

      59.    This paragraph purports to summarize a study by the NTP that speaks

for itself. DuPont denies the allegations in this paragraph to the extent they do not

accurately describe the referenced study in full context and further denies the

allegations of this paragraph to the extent they are inconsistent with the study. To

the extent this paragraph makes other allegations not part of that study, DuPont

denies those allegations.

      60.    Admitted that the EPA released lifetime health advisories for PFOA to

the extent this paragraph makes other allegations not part of the study, and PFOS in

2016, that the PFOA advisory was .07 µg/L (.07 ppb), and that the PFOS advisory




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was .07 µg/L (.07 ppb). Denied to the extent the allegations of this paragraph are

inconsistent with that advisory.

      61.    Admitted that the EPA released lifetime health advisories for PFOA

and PFOS in 2016. Denied to the extent that the allegations of this paragraph do not

accurately describe those advisories in full context and further denied to the extent

the allegations of this paragraph are inconsistent with those advisories.

      62.    Admitted that the EPA released lifetime health advisories for PFOA

and PFOS in 2016. Denied to the extent that the allegations of this paragraph do not

accurately describe those advisories in full context and further denied to the extent

the allegations of this paragraph are inconsistent with those advisories.

      63.    This paragraph references a draft Toxicological Profile for

Perfluoroalkyls that speaks for itself. DuPont denies any allegations of this

paragraph purporting to describe the findings in the Profile that are inconsistent with

that Profile or do not describe the full context of those findings. DuPont denies the

remaining allegations of this paragraph.

      64.    This paragraph references a Toxicological Profile that speaks for itself.

DuPont denies any reference in this paragraph that is inconsistent with that Profile.

DuPont denies the remaining allegations of this paragraph.




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      65.    Admitted that certain states have adopted regulatory guidance or levels

for PFOA and PFOS that are lower than the 2016 EPA professional health advisory.

Denied to the extent the allegations of this paragraph are inconsistent with those

regulatory levels or guidance.

      66.    This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, DuPont denied any and all

allegations directed at DuPont. DuPont is without sufficient information to admit or

deny the allegations of this paragraph and therefore denies them.

      67.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      68.    Denied as to DuPont’s alleged knowledge. This paragraph quotes from

and/or characterizes certain documents or studies which speak for themselves within

the appropriate context; without these documents or studies, however, DuPont lacks

knowledge or information sufficient to form a belief as to the truth or accuracy of

the remaining allegations of this paragraph and therefore denies the same. DuPont

lacks knowledge or information sufficient to form a belief as to the truth or accuracy

of these allegations as to the other defendants and therefore denes the same.




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      69.   The allegations of this paragraph are directed at a party other than

DuPont and therefore require no response. To the extent a response is required,

DuPont lacks knowledge or information sufficient to form a belief as to the truth or

accuracy of these allegations and therefore denies the same.

      70.   The allegations of this paragraph are directed at a party other than

DuPont and therefore require no response. To the extent a response is required,

DuPont lacks knowledge or information sufficient to form a belief as to the truth or

accuracy of these allegations and therefore denies the same.

      71.   The allegations of this paragraph are directed at a party other than

DuPont and therefore require no response. To the extent a response is required,

DuPont lacks knowledge or information sufficient to form a belief as to the truth or

accuracy of these allegations and therefore denies the same.

      72.   The allegations of this paragraph are directed at a party other than

DuPont and therefore require no response. To the extent a response is required,

DuPont lacks knowledge or information sufficient to form a belief as to the truth or

accuracy of these allegations and therefore denies the same.

      73.   The allegations of this paragraph are directed at a party other than

DuPont and therefore require no response. To the extent a response is required, this

paragraph quotes from and/or characterizes certain documents or studies which


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speak for themselves within the appropriate context; however, without these

documents or studies, DuPont lacks knowledge or information sufficient to form a

belief as to the truth or accuracy of these allegations and therefore denies the same.

      74.    Admitted that DuPont has in the past conducted certain studies

involving PFOA. Denied to the extent the allegations of this paragraph do not

accurately describe those studies in full context and further denied to the extent the

allegations of this paragraph are inconsistent with those studies. Any remaining

allegations in this paragraph are denied as to DuPont.

      75.    Admitted that DuPont in the past conducted certain studies involving

PFOA. Denied to the extent the allegations of this paragraph do not accurately

describe those studies in full context and further denied to the extent the allegations

of this paragraph are inconsistent with those studies. Any remaining allegations in

this paragraph are denied as to DuPont.

      76.    Admitted that in 2005, DuPont reached a negotiated settlement to

resolve contested allegations in an administrative matter with the EPA. Denied to

the extent the allegations of this paragraph do not accurately describe that settlement

in full context and further denied to the extent the allegations of this paragraph are

inconsistent with that settlement. Further denied that DuPont has made false




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statements in public regarding the effects of PFOA. Any remaining allegations of

this paragraph are denied as to DuPont.

      77.    Admitted that DuPont purchased chemicals from 3M in the past to use

as a processing aid in production of fluoropolymers and that 3M announced in 2000

that it would discontinue manufacture of PFOA.              Admitted that DuPont

manufactured PFOA in 2002 for its own use unrelated to the carpet industry. Any

remaining allegations in this paragraph are denied as stated as to DuPont.

      78.    Admitted that DuPont created a new, separate, publicly company

pursuant to a spinoff that was completed on July 1, 2015.        DuPont denies any

remaining allegations and characterizations in this paragraph.

      79.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      80.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      81.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.


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      82.    Admitted that the EPA published certain new rules in 2002. Denied to

the extent that the allegations of this paragraph do not accurately state the content or

intent of those new rules and full context and further denied to the extent the

allegations of this paragraph are inconsistent with those new rules. Admitted that

PFOA replacement technology was developed by DuPont.                  Chemours lacks

knowledge or information sufficient to believe the truth or accuracy of the remaining

allegations of this paragraph as to other defendants and therefore denies the same.

      83.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      84.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      85.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      86.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.


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      87.      Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      88.      Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      89.      Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies the same.

      90.      Denied as to DuPont. This paragraph purports to describe findings and

conclusions of the EPA, the University of Georgia and the Georgia Environment

Protection Division. Any such findings and conclusions speak for themselves and

DuPont denies any allegations in this paragraph inconsistent with those findings.

DuPont lacks sufficient knowledge or information sufficient to form a belief as to

the truth or accuracy of any remaining allegations of this paragraph and therefore

denies them.

      91.      This paragraph purports to describe findings and conclusions of the

University of Georgia and those findings and conclusions speak for themselves;

accordingly, DuPont denies any allegations in this paragraph inconsistent with those


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findings and conclusions. As to any remaining allegations in this paragraph, DuPont

lacks knowledge or information sufficient to form a belief as to the truth or accuracy

of those allegations and therefore denies them.

        92.   Any results of the United Steel Workers Union’s sampling speaks for

themselves, and DuPont denies any allegations in this paragraph inconsistent with

those results. DuPont lacks knowledge or information sufficient to form a belief as

to the truth or accuracy of the remaining allegations of this paragraph and denies

them.

        93.   The allegations of this paragraph are directed at a party other than

DuPont and therefore require no response. To the extent a response is required,

DuPont lacks knowledge or information sufficient to form a belief as to the truth or

accuracy of these allegations and therefore denies them.

        94.   The paragraph purports to describe a study conducted by the EPA. The

results of that study speak for themselves. DuPont denies any allegations of this

paragraph inconsistent with that study. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of the remaining allegations of

this paragraph and denies them.

        95.   The allegations of this paragraph are directed to a party other than

DuPont and therefore require no response. To the extent a response is required, this


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paragraph quotes from and are characterized documents or studies which speak for

themselves within the appropriate context; DuPont denies the allegations of this

paragraph to the extent allegations are inconsistent with those documents or studies.

Any remaining allegations of this paragraph are denied as to DuPont lacks

knowledge or information sufficient to form a belief as to the truth or accuracy of

those allegations and therefore denies them.

      96.    The allegations of this paragraph are directed to a party other than

DuPont and therefore require no response. To the extent a response is required,

DuPont lacks knowledge or information sufficient to form a belief as to the truth or

accuracy of these allegations as to the other defendants and therefore denies them.

      97.    DuPont is without sufficient knowledge to admit or deny the allegations

of this paragraph and therefore denies them.

      98.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies them.

      99.    Denied as to DuPont. DuPont lacks knowledge or information

sufficient to form a belief as to the truth or accuracy of these allegations as to the

other defendants and therefore denies them.




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      100.   DuPont is without sufficient knowledge to admit or deny the allegations

of this paragraph and therefore denies them.

      101.   DuPont is without sufficient knowledge to admit or deny the allegations

of this paragraph and therefore denies them.

      102.   DuPont is without sufficient information to admit or deny the

allegations of this paragraph and therefore denies them.

      103.   DuPont is without sufficient information to admit or deny the

allegations of this paragraph and therefore denies them.

      104.   Denied.

                        COUNT ONE:
DISCHARGE OF POLLUTANTS TO SURFACE WATERS WITHOUT AN
   NPDES PERMIT IN VIOLATION OF THE CLEAN WATER ACT
                  (Defendant Dalton Utilities)

      105.   DuPont adopts and incorporates by references its responses to

Paragraphs 1 through 104 as if restated therein.

      106.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      107.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.
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      108.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      109.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      110.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      111.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      112.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      113.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.




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      114.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      115.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      116.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      117.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      118.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      119.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.




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                                  COUNT TWO:
INDUSTRIAL USER PASS THROUGH DISCHARGES OF POLLUTANTS
IN VIOLATION OF FEDERAL PROHIBITIONS, DALTON UTITLITIES’
 SEWER USE RULES AND REGULATIONS, AND THE CLEAN WATER
                                 ACT
      (Defendant Dalton/Whitfield Regional Solid Waste Authority)

      120.   DuPont adopts and incorporates by references its responses to

Paragraphs 1 through 119 as if restated therein.

      121.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      122.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      123.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      124.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.




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      125.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      126.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      127.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      128.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      129.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      130.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.




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      131.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      132.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      133.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

                                CLASS ALLEGATIONS

      134.   DuPont adopts and incorporates by references its responses to

Paragraphs 1 through 133 as if restated therein.

      135.   This paragraph is a description of Plaintiff’s claims and theories of

liability and therefore requires no response. To the extent a response is necessary,

admitted that Plaintiff seeks to bring an action on behalf of a class of persons but

denied that Plaintiff satisfies the legal requirements for doing so. Any remaining

allegations in this paragraph are denied.

      136.   DuPont is without sufficient information to admit or deny the

allegations of this paragraph pertaining to Plaintiff’s residency or the residency of


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any proposed class members and therefore denies them. DuPont is without sufficient

information to admit or deny the allegations of this paragraph pertaining to

Plaintiff’s status or the status of any proposed class members as water subscribers

and ratepayers for RWSD/and or the FCWD and therefore denies them. The

remaining allegations of this paragraph are denied as to DuPont. DuPont specifically

denies that it harmed, injured, or damaged Plaintiff or any proposed class members,

that it contaminated any “drinking water,” or that it caused Plaintiff or any proposed

class members to pay “surcharges.”

      137.   This paragraph is a description of Plaintiff’s claims regarding the

proposed class and therefore requires no response. To the extent a response is

necessary, admitted that Plaintiff seeks to bring an action on behalf of a class of

persons but denied that Plaintiff satisfies the legal requirements for doing so. Any

remaining allegations in this paragraph are denied.

      138.   This paragraph is a description of individuals who would be excluded

from Plaintiff’s proposed class and therefore requires no response. To the extent a

response is necessary, admitted that Plaintiff seeks to bring an action on behalf of a

class of persons but denied that Plaintiff satisfies the legal requirements for doing

so. Any remaining allegations in this paragraph are denied.




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      139.   This paragraph is Plaintiff’s reservation of his right to modify or amend

his proposed class definition and therefore requires no response. To the extent a

response is necessary, admitted that Plaintiff seeks to bring an action on behalf of a

class of persons but denied that Plaintiff satisfies the legal requirements or doing so.

Any remaining allegations in this paragraph are denied.

      140.   This paragraph is a description of Plaintiff’s claims regarding a

proposed class and therefore requires no response. To the extent a response is

necessary, admitted that Plaintiff seeks to bring an action on behalf of a class of

persons of unknown size but denied that Plaintiff satisfies the legal requirements for

doing so. Further denied that the separate joinder of each proposed class members

would be impractical. Any remaining allegations in this paragraph are denied.

      141.   This paragraph is a description of Plaintiff’s claims regarding a

proposed class and therefore requires no response. To the extent a response is

necessary, admitted that Plaintiff seeks to bring an action on behalf of a class of

persons of unknown size but denied that Plaintiff satisfies the legal requirements for

doing so. Further denied that those persons are readily identifiable. Any remaining

allegations in this paragraph are denied.

      142.   This paragraph is a description of individuals Plaintiff’s claims

regarding proposed class and therefore requires no response. To the extent a


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response is necessary, admitted that Plaintiff seeks to bring an action on behalf of a

class of persons but denied that Plaintiff satisfies the legal requirements for doing

so. Further denied that Plaintiff’s injuries are typical of the proposed class. Any

remaining allegations in this paragraph are denied.

      143.      This paragraph is a description of Plaintiff’s claims regarding proposed

class and therefore requires no response. To the extent a response is necessary,

admitted that Plaintiff seeks to bring an action on behalf of a class of persons but

denied that Plaintiff satisfies the legal requirements for doing so. Further denied that

Plaintiff can fairly and adequately represent the interests of all members of the

proposed class and that all members of the proposed class are similarly damages or

seeking the same remedies. Any remaining allegations in this paragraph are denied.

      144.      This paragraph is a description of the competency of Plaintiff’s counsel

to prosecute Plaintiff’s proposed class and therefore requires no response. To the

extent a response is necessary, admitted that Plaintiff seeks to bring an action on

behalf of a class of persons but denied that Plaintiff satisfies the legal requirements

for doing so.

      145.      This paragraph is a description of Plaintiff’s claims regarding a

proposed class and therefore requires no response. To the extent a response is

necessary, admitted that Plaintiff seeks to bring an action on behalf of a class of


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persons but denied that Plaintiff satisfies the legal requirements for doing so. Further

denied that any of factual and/or legal questions listed in subparagraphs (a) through

(k) are common to all members of Plaintiff’s proposed class or to the defendants.

Any remaining allegations in this paragraph are denied.

      146.   This paragraph is a description of Plaintiff’s claims regarding a

proposed class and therefore requires no response. To the extent a response is

necessary, admitted that Plaintiff seeks to bring an action on behalf of a class of

persons but denied that Plaintiff satisfies the legal requirements for doing so.

Specifically denied that a class action is superior to other methods for the fair and

efficient adjudication of action.

      147.   Denied as to DuPont.

      148.   Denied.    DuPont further adopts and incorporates its response to

paragraph 145, above.

      149.   Denied.

      150.   Denied.

                       COUNT THREE:
  WILLFUL, WANTON, RECKLESS, OR NEGLIGENT MISCONDUCT
             (All Defendants Except Dalton Utilities)

      151.   DuPont adopts and incorporates by references its responses to

Paragraphs 1 through 150 as if restated therein.


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      152.   Because the Court dismissed this claim against DuPont, no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont. DuPont is without sufficient information to

admit or deny the allegations of this paragraph as to the other defendants and

therefore denies them.

      153.   This paragraph is a description of Plaintiff’s claims regarding a

proposed class and therefore requires no response. Because the Court dismissed this

claim against DuPont, no response is required. To the extent a response is required,

DuPont denies all allegations and statements of damages against DuPont. DuPont is

without sufficient information to admit or deny the allegations of this paragraph as

to the other defendants and therefore denies them.

      154.   Because the Court dismissed this claim against DuPont, no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont. DuPont is without sufficient information to

admit or deny the allegations of this paragraph as to the other defendants and

therefore denies them.

      155.   Because the Court dismissed this claim against DuPont, no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont. DuPont is without sufficient information to


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admit or deny the allegations of this paragraph as to the other defendants and

therefore denies them.

      156.   Because the Court dismissed this claim against DuPont, no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont. DuPont is without sufficient information to

admit or deny the allegations of this paragraph as to the other defendants and

therefore denies them.

                              COUNT FOUR:
                          NEGLIGENCE PER SE
      (All Defendants Except Dalton Utilities, 3M, DuPont, & Chemours)

      157.   DuPont adopts and incorporates by references its responses to

Paragraphs 1 through 156 as if restated therein.

      158.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      159.   This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.




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      160.     This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      161.     This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

      162.     This paragraph is not directed to DuPont, and therefore no response is

required. To the extent a response is required, DuPont denies all allegations and

statements of damages against DuPont.

                                  COUNT FIVE:
                              PUNITIVE DAMAGES
                      (All Defendants Except Dalton Utilities)

      163.     DuPont adopts and incorporates by references its responses to

Paragraphs 1 through 162 as if restated therein.

      164.     Denied as to DuPont. DuPont specifically denies that it manufactured,

handled, distributed, or discharged PFAS or any other toxic chemicals into the

RWSD and FCWD water supply. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.




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      165.     This paragraph is a description of Plaintiff’s claims and theories of

liability and therefore requires no response. To the extent a response is required,

DuPont denies all allegations and statements of damages against DuPont. DuPont is

without sufficient information to admit or deny the allegations of this paragraph as

to the other defendants and therefore denies them.

      166.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      167.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      168.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      169.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      170.     Denied as to DuPont. Specifically, DuPont denies that Plaintiff is

entitled to the relief sought therein or any other relief from DuPont.


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      171.     Denied. Further denied that Plaintiff is entitled to any relief whatsoever

from DuPont.

                                COUNT SIX
                             PUBLIC NUISANCE
      172.     DuPont adopts and incorporates by references its responses to

Paragraphs 1 through 172 as if restated therein.

      173.     DuPont is without sufficient information to admit or deny the

allegations of this paragraph and therefore denies them.

      174.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      175.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      176.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      177.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.


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      178.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      179.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      180.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      181.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

      182.     Denied as to DuPont. DuPont is without sufficient information to admit

or deny the allegations of this paragraph as to the other defendants and therefore

denies them.

                             COUNT SEVEN
                        CLAIMS FOR ABATEMENT
                  AND INJUNCTION FOR PUBLIC NUISANCE

      183.     DuPont adopts and incorporates by references its responses to

Paragraphs 1 through 182 as if restated therein.


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      184.   This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied that Plaintiff is entitled to

any relief from DuPont and further denied that DuPont discharged PFOA, PFOS, or

related chemicals into Plaintiff or the proposed class members’ water supply.

DuPont is without sufficient information to admit or deny the allegations of this

paragraph as to the other defendants and therefore denies them.

      185.   This paragraph contains a legal conclusion and therefore requires no

response. To the extent a response is necessary, denied that Plaintiff is entitled to

any relief from DuPont. DuPont is without sufficient information to admit or deny

the allegations of this paragraph as to the other defendants and therefore denies them.

      186.   This paragraph is a description of Plaintiff’s claims and theories of

liability and therefore requires no response. To the extent a response is necessary,

denied that Plaintiff is entitled to the relief sought therein or any other relief from

DuPont.

      187.   This paragraph is a description of Plaintiff’s claims and theories of

liability and therefore requires no response. To the extent a response is necessary,

denied that Plaintiff is entitled to the relief sought therein or any other relief from

DuPont.




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      188.     This paragraph is a description of Plaintiff’s claims and theories of

liability and therefore requires no response. To the extent a response is necessary,

denied that Plaintiff is entitled to the relief sought therein or any other relief from

DuPont.

       DEFENDANT E.I. du PONT de NEMOURS AND COMPANY’S
             AFFIRMATIVE AND OTHER DEFENSES
      Without assuming any burden of proof, it would not otherwise bear,

Defendant E.I. du Pont de Nemours and Company (“DuPont”) hereby asserts the

following as its affirmative and other defenses to the Complaint by Plaintiff Jarrod

Johnson, individually and as the representative of a putative class (“Plaintiff”):


        1.     DuPont denies the material allegations of the Complaint, both

 separately and severally, and demands strict proof thereof.

        2.     The Complaint fails to state a claim upon which relief can be granted.

        3.     Plaintiff's claims may be barred, in whole or in part, because the

 Plaintiff lacks standing to bring such claims.

       4.      Venue is improper and/or maybe more convenient in another forum.

        5.     Plaintiff’s claims may be barred, in whole or in part, by the applicable

 statute(s) of limitations.

        6.     Plaintiff’s claims may be barred, in whole or in part, by the doctrine


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of laches.

      7.     DuPont asserts the defense of failure to join a party.

      8.     Plaintiff’s claims fail, in whole or in part, because they fail to

adequately identify and name the appropriate defendants.

      9.     Plaintiff’s claims are barred, in whole or in part, under the Economic

Injury/Loss Doctrine.

      10.    Plaintiff’s claims are barred, in whole or in part, under the doctrines

ofwaiver and/or estoppel.

      11.    Plaintiff’s claims fail, in whole or in part, because Plaintiff and/or

members of the putative class assumed the risk.

      12.    DuPont avers that Plaintiff’s injuries and damages were caused, in

whole or in part, by the acts or omissions of others over whom DuPont has no

control and for whom DuPont owes no legal responsibility. DuPont never

manufactured or sold PFOS and never sold PFOA as a commercial product.

      13.    Any damages awarded to Plaintiff should be subject to apportionment

among any parties or non-parties and offset to the extent of fault apportioned to

those parties or non-parties.

      14.    DuPont avers that Plaintiff’s injuries and damages were caused, in

whole or in part, by superseding, unforeseen, and/or intervening causes.


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      15.    If it is established that DuPont is in any manner legally responsible

for any of the damages claimed by Plaintiff, such damages were proximately

contributed to and caused by other persons or entities not yet parties to this action,

and, therefore, DuPont is entitled to equitable and applied indemnity or

contribution or both from each such person and entity in an amount in direct

proportion to the culpable conduct of the other persons or entities.

      16.    Plaintiff’s claims may be barred, in whole or in part, by his own

contributory or comparative negligence or the contributory or comparative

negligence of those for whom he bears legal responsibility.

      17.    DuPont asserts that Plaintiff’s claims are preempted by federal law.

      18.    DuPont has complied with all relevant federal and state regulations

and industry practices.

      19.    Plaintiffs’ claims are barred in whole or in part to the extent they seek

to impose liability based on retroactive application of laws, regulations, standards,

or guidelines.

      20.    DuPont is not liable for the matters and things alleged in the

Complaint.

      21.    DuPont denies that it owed any duty to Plaintiff. Alternatively,

DuPont denies that it breached any duty or obligation owed to Plaintiff.


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      22.    DuPont denies that its conduct was in any manner negligent or

wanton.

      23.    DuPont asserts that its conduct was not the proximate cause of the

claimed injuries.

      24.    Plaintiff’s claim for nuisance is barred, in whole or in part, because

Plaintiff failed to request that DuPont abate the nuisance prior to filing this action

as required by O.C.G.A. § 41-1-5.

      25.    DuPont asserts that its conduct was lawful, privileged, and taken

in good faith exercise of its rights and duties under the law.

      26.    Plaintiff’s claim for trespass is barred, in whole or in part, because

DuPont did not unlawfully interfere with Plaintiff’s property.

      27.    Plaintiff’s claim for trespass is barred, in whole or in part, because

any interference with Plaintiff’s property was de minimis.

      28.    Plaintiff’s claim for trespass is barred, in whole or in part, because

Plaintiff consented to, caused, and/or contributed to any invasion of its property.

      29.    All or parts of the claims, in this case, are arbitrable.


      30.    DuPont contests the extent and nature of Plaintiff’s alleged damages.


      31.    Plaintiff’s claims fail, in whole or in part, due to a failure to mitigate


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damages.

      32.    Plaintiff’s claims are barred, in whole or in part, by operation of the

sophisticated purchaser, sophisticated/learned intermediary, bulk supplier, and/or

sophisticated user doctrine.

      33.    DuPont asserts as a defense, credit, or set-off against the damages

claimed by Plaintiff, the settlement (and any monies paid pursuant thereto)

between Plaintiff and any other person or entity.

      34.    Plaintiff’s claim for damages may be limited pursuant to applicable

limitation of damages provisions.

      35.    The Complaint fails to state a claim for punitive or exemplary

damages and fails to allege the existence of clear and convincing evidence required

to support such a claim.

      36.    Plaintiff’s claims for punitive or exemplary damages are subject to

thelimitations of O.C.G.A. § 51-12-5.1(b) in that Plaintiff cannot demonstrate that

DuPont showed willful misconduct, malice, fraud, wantonness, oppression, or that

entire want of care that would raise the presumption of conscious indifference to

consequences.

      37.    DuPont did not engage in any conduct which would warrant or form

a valid basis for an award of punitive or exemplary damages.

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      38.   Plaintiff is not entitled to recover punitive or exemplary damages

against DuPont because:

     (a)    Any claim by Plaintiff for punitive damages is barred because an

            award of punitive damages would violate the due process clause of

            theFourteenth Amendment to the United States Constitution and the

            due process clause of the Georgia Constitution, in that:

            (i)     The jury will be allowed to consider evidence of DuPont’s

                    wealth in assessing punitive damages.

            (ii)    There are no definite standards whereby the judiciary may

                    determine the propriety of punitive damages or the amount of

                    any such award.

            (iii)   There are no effective procedures whereby the judiciary can

                    review either the propriety or the magnitude of punitive

                    damages.

            (iv)    The guidelines, standards, procedures, and instructions for the

                    imposition of punitive damages are ambiguous, indefinite,

                    unreasonable, vague, uncertain, conflicting, purely subjective,

                    and fundamentally unfair.

            (v)     The vague and inconsistent legal standards for the imposition


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             ofpunitive damages deprive DuPont of sufficient notice of

             thetype of conduct and mental state upon which an award of

             punitive damages could be based.

      (vi)   No objective limitations or standards have been established

             concerning the amount or severity of any punitive damages,

             including the severity of the penalty.

(b)   Any claim by Plaintiff for punitive damages is barred because they

      areessentially criminal in nature and a form of punishment, and they

      seekto deny DuPont the rights guaranteed to defendants in criminal

      proceedings under the Fourth, Sixth, and Fourteenth Amendments of

      the United States Constitution and the Constitution of Georgia.

(c)   Any claim by Plaintiff for punitive damages is barred because they

      seek to impose punishment that is excessive and grossly

      disproportionate to the misconduct alleged, in violation of the

      Constitution of the State of Georgia.

(d)   Any claim by Plaintiff for punitive damages is barred to the extent it

      seeks the admission of evidence of DuPont’s net worth or wealth in

      determining whether punitive damages are to be awarded and/or in

      what amount, because punitive damages are a form of punishment,


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      and punishment that is grounded in DuPont’s status, rather than in

      specific misconduct, has the effect of treating classes of citizens

      unequally in violation of the Equal Protection Clause of the

      Fourteenth Amendment to the Constitution of the United States

      andthe Constitution of the State of Georgia.

(e)   Any claim by Plaintiff for punitive damages is barred because

      punitive damages are a form of punishment and any such award under

      the laws of the State of Georgia would violate DuPont’s procedural

      and substantive Due Process rights, and Equal Protection rights,

      guaranteed by the Fifth and Fourteenth Amendments to the United

      States Constitution and may by the Constitution of the State of

      Georgia where a jury:

      (i)     is not provided with standards of sufficient clarity, objectivity

              and uniformity for determining the appropriateness            of

              awarding, or the appropriate size of any punitive damages;

      (ii)    is not instructed on the limits of punitive damages awards

              imposed by the applicable principles of punishment and

              deterrence;

      (iii)   is not expressly prohibited from awarding punitive damages or


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             determining the amount of an award of punitive damages, in

             whole or in part, on the basis of invidiously discriminatory

             characteristics;

      (iv)   is permitted to award punitive damages under standards for

             determining liability for, and amount of, punitive damages that

             are vague and arbitrary and do not define with sufficient clarity

             the culpable conduct or mental state that makes an award of

             punitive damages permissible; and

      (v)    is not subject to judicial review on the basis of objective and

             uniform standards.

(f)   Any claim by Plaintiff for punitive damages is barred because an

      award of punitive damages in this action would be an unconstitutional

      burden on interstate commerce in violation of the Commerce Clause

      of Article I, Section 8 of the United States Constitution.

(g)   Any claim by Plaintiff for punitive damages in this lawsuit is a

      requestto impose economic sanctions in violation of the sovereignty

      of other states.

(h)   Any such recovery would violate DuPont’s rights under Article I,

      Section 9 of the United States Constitution because such is an ex post

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             facto law.

      (i)    An award of punitive damages is a violation of the Contract Clause

             of the Constitution of the United States of America.

      (j)    Georgia’s scheme for punitive damages, including but not limited to

             statutes, rules, jury instructions, violate the Due Process Clauses

             of the Fifth and Fourteenth Amendments of the United States

             Constitution, the Excessive Fines Clause of the Eighth Amendment

             to the United States Constitution, and the Georgia Constitution, for

             the reasons set forth above in this section.

      39.    With respect to Plaintiff’s demand for punitive damages, DuPont

specifically raises and incorporates by reference any and all standards or

limitations regarding the determination and enforceability of such damage awards

as held in BMW v. Gore, 116 U.S. 1589 (1996), State Farm Mut. Auto Ins. Co. v.

Campbell, 123 S. Ct. 1513 (2003), Phillip Morris USA v. Williams, 127 S. Ct. 1057

(2007), and Exxon Shipping Co. v. Baker, 128 S. Ct. 2605 (2008).

      40.    DuPont has not acted or failed to act in such a way as to give rise to

any claim for attorneys’ fees or expenses of litigation.

      41.    Plaintiff is not entitled to injunctive or other equitable relief against

DuPont, as Plaintiff cannot show an irreparable injury if an injunction does not


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 issue, a likelihood of success on the merits, or a lack of an adequate remedy at law.

       42.    The proposed claims of the class are precluded because the alleged

 conduct would have affected, if anyone, only an insubstantial number of putative

 class members.

       43.    The proposed class cannot be certified because the putative class,

 class representatives, and/or class counsel failed to meet the typicality,

 commonality, numerosity, adequacy, superiority, and predominance requirements

 for the pursuit of the claims as a class action.

       44.    To avoid waiving affirmative defenses which may subsequently

 develop, DuPont asserts each affirmative defense stated in O.C.G.A. § 9-11-8

 and O.C.G.A. § 9-11-12 to the extent not otherwise stated herein.

       45.    DuPont hereby gives notice that it may rely upon such other defenses

 (affirmative or otherwise) that may become available or apparent during the course

 of discovery or otherwise and thus reserve the right to add or withdraw defenses.

      WHEREFORE, DuPont respectfully requests that the Court dismiss

Plaintiff’s Amended Complaint, award the costs and expenses of litigation to it, and

grant such other relief to it as the Court deems equitable and just under the

circumstances.




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Dated: October 25, 2021     Respectfully submitted,

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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                          ROME DIVISION

JARROD JOHNSON, individually, and
on behalf of a class of persons similarly
situated,

      Plaintiff,
                                                Case No. 4:20-cv-00008-AT
v.
                                                Hon. Amy Totenberg
3M COMPANY, et al.,

      Defendants.


                         CERTIFICATE OF SERVICE
                   AND COMPLIANCE WITH LOCAL RULE 5.1

      I hereby certify that I have this date electronically filed the within and

foregoing, which has been prepared using 14-point Times New Roman font, with

the Clerk of the Court using the CM/ECF system, which will automatically send

email notification of such filing to all attorneys of record.

Dated: October 25, 2021           Respectfully submitted,

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